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                             EXHIBIT A
                         Class Action Complaint
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          CIV 190716 CIV DS1920423 CASEEN 091202



                            Scanned Document Coversheet
System Code     CIV

Case Number     DS1920423

CaseType        CIV                   THIS COVERSHEET IS FOR COURT
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Complaint and Party information entered




                                          NEW FILE
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   6
        Attoi neys for PlaintifF and all others similarly
        situated




   8
                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

   g
                                      COUNTY OF SAN BERNARDINO

   lo
        JOSEPH TAPIA       an   individual    on   behalf of   Case No    CIVDS                    192                                 23
   11     mself and all others similarly situated
                                                                   CLASS ACTION COMPLAINT FOR
                                 Plaintiffs
   12                                                              1   FAILURE TO PROVIDE REST
                                                                       BREAKS
   13                                                              2   FAILURE TO PROVIDE MEAL
                                                                       BREAKS
        CRST EXPEDITED INC             CRST
   14                                                              3   FAILURE TO PAY MINIMUM
          TERNATIONAL           INC      DOES 1
                                       and
                                                                       WAGES
        through 10 inclusive
   15                                                              4   FAILURE TO PAY ALL WAGES
                                                                       UPON SEPARATION
                                 Defendants
   16                                                              5   FAILURE TO FU1tNISH TIMELY
                                                                       AND ACCURATE WAGE
   1                                                                   STATEMENTS
                                                                   6   FAILURE TO REIMBURSE
   1g                                                                  BUSINESS EXPENSES AND
                                                                   7   VIOLATION OF CALIFORNIA S
   19                                                                  UNFAIR COMPETITION ACT
                                                                        UCL   Bus   Prof Code 17200
   20
                                                                       et seq

   21

   22


   23


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                                                                                                       BY FAX
                                                               1

                                               CLASS ACTION COMPLAINT
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    1                   Plaintiff Joseph Tapia      Plaintiff   brings this class and collective action against

    2       Defendant CRST Expedited Inc              CRST International Inc      and Does 1 tlu ough 10

    3         Defendants          and respectfully alleges the following
    4                                                NATURE OF THE ACTION

    5                   1      This is a California class action for wage and labor violations arising out of
    6
            Defendants failure to fully compensate its driver trainees according to law As alleged herein

            Defendant is a national transportation company that employed Plaintiff and Class members as

            drivers but failed to pay them for training and orientation and only paid on a piece rate per mile
    g
            basis for driving This violates California law because among othei things it fails to compensate
    10                                       break time   Defendant                   Labor Code
            for   non
                        driving   and rest                            also violated
                                                                                                   2802 by failing to
    11
            reimburse for the cost of training and instead chaxging Plaintiff and class members for such
    12
            training Plaintiff seeks to represent similarly situated drivers for unpaid wages and other labor
    13      violations as alleged herein

    14                                              JURISDICTION AND VENUE

    15
                        2      This Court has jurisdiction over the entire action by virtue of the fact that this is a
    16
            civil action wherein the matter in controversy exclusive of interest and costs exceeds the
    17      jurisdictional minimum of the Court            The acts and omissions complained ofin this action took

    1g      place in the State of California or at least one Defendant resides in the state of California         Venue

        9   is proper because this is a class action the acts and or omissions complained of took place in

   20       whole or in part within the venue of this Court andlor one or more Defendant resides within the

   21       venue ofthis court

   22
                                                                PARTIES


   23                   3      Plaintiff Joseph Tapia was at all relevant times is a citizen of the State of

   24
            California and resident in the County of San Bernardino employed by Defendants as a trainee
   25
            driver during the liability period as alleged herein
   26               4          Plaintiff is informed believes and thereon alleges that Defendant CRST

   27
            Expedited Inc is a transportation company with its headquarters in Iowa Plaintiff is informed
   28       believes and thereon alleges that Defendant CRST International Inc is a transportation

                                                                      2

                                                      CLASS ACTION COMPLAINT
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                                 s
    1    company with its headquarters in Iowa Defendants CRST Expedited Inc and CRST
   2     International Inc are hereinafter referred to     CRST

    3             5         Plaintiff is cui ently ignorant of the true names and capacities whether individual
   4     coiporate associate or otherwise of the defendants sued herein under the fictitious names Does 1

    5    tYuough 10 inclusive and therefore sue such defendants by such fictitious names Plaintiff will

   6     seek leave to amend this complaint to allege the true names and capacities of said fictitiously
   7     named defendants when their true names and capacities have been ascertained         Plaintiff is


   8     informed and believe and thereon alleges that each of the fictitiously named defendants is legally
   9     responsible in some manner for the events and occurrences alleged herein and for the damages


    10   suffered by the Class

    11            6         Plaintiff is informed and believes and thereon alleges that all defendants including

    12   the fictitious Doe defendants were at alI relevant times acting as actual agents conspirators

    13   ostensible agents alter egos partners and or joint venturers and or employees ofall other


    14   defendants and that all acts alleged herein occurred within the course and scope of said agency

    15   employment partnership and joint venture conspiracy or enterprise and with the express and or
   16    implied permission knowledge consent authorization and ratification oftheir co defendants


   17    however each of these allegations are deemed alternative theories whenever not doing so
   18    would result in a contradiction with other allegations


   19                            FACTS COMMON TO ALL CAUSES OF ACTION

   20            7          Defendants provide transportation and trucking services and employs drivers in
   21    California and throughout the nation to drive for them Plaintiff was employed by Defendants as

   22    a trainee driver in California in or about May June 2019

   23            8          Defendants have a multi day training program for newly hired drivers During the
   24    initial phases of the training Plaintiff and other trainees receive driver training and orientation at

   25    CRST facilities and or CRST designated facilities including as to CRST s specific employment
   26    practices documentation and procedures Plaintiff and other trainees were not paid during this
   27    initial training
   28

                                                             3

                                                       COMPLAINT
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    1              9        Plaintiff and similarly situated trainees begin to be paid once they start working as
    2    a driver actually delivering loads and are initially paired with another more experienced driver

    3    Once they start being paid Plaintiff and Class members are thereafter paid by Defendants on a

    4    per mile basis


    5              10       If driver trainees do not complete training they are charged for tuition for

    6    Defendants training in the amount of several thousand dollars Defendants do not reimburse
    7    those amounts to drivers      in violation of Labor Code    2802


    8              11       Plaintiff did his initial driver training and orientation with Defendants in and was

    9    not paid for this training Plaintiff thereafter began driving for Defendant and was paid on a per
    10   mile basis Plaintiff left Defendant s employ in or about June 2019 Plaintiff was thereafter sent

    11   collection notices for charges for Defendants training and or orientation and Defendants have

    12   failed to reimburse Plaintiff for these training costs
    13             12      Plaintiff and class members were required to perform non driving and or non
    14   productive duties including but not limited to truck and trailer inspections waiting time and

    15   other on duty time

    16             13      Pursuant to 29 C F R 785 22 a Plaintiff and similarly situated drivers are on

    17   duty and must paid for all non driving time when on the road for over 24 hours Plaintiff and
    18   class members drove for Defendant and were on the road for over 24 hours          Defendants failed to

    19   compensate Plaintiff at minimum wages for non driving and or non productive time

   20              14      Defendant paid on a piece rate basis and failed to separately compensate Plaintiff
   21    and class members for rest breaks under California law At all times during the liability period
   22
         Plaintiff and Defendants drivers were assigned to and required to work shifts lasting over than
   23    three   and one   halfhours   3   2
                                               but were not separately compensated for a ten 10 minute
   24    uninterrupted rest break during each such shift Defendant further failed to schedule timely

   25    lawful rest breaks or relieve Plaintiff and class members of all duties to take rest breaks

   26             15       At all times during the liability period Plaintiff and the Class members were
   27    assigned to and required to work for periods lasting in excess of five 5 hours and were not
   28    scheduled to take a thirty 30 minute unintenupted off duty meal breaks within five hours of
                                                               4

                                                          COMPLAINT
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    1    starting working Defendants as a matter of policy did not schedule meal breaks and did not

   2     relieve Plaintiff and other class members ofduties to take meal breaks    Plaintiff and class


   3     members were on duty while hauling a load for Defendants and did not receive the required
   4     timely and duty free meal breaks
   5             16     During the period he was drove for Defendant including in June 2019 Plaintiff

   6     was denied lawful meal and rest breaks was not relieved of all duties to take timely breaks and

   7     was not separately compensated for such breaks and
   8             17     At all times during the liability period Defendants failed to pay their drivers for all

   9     hours worked Defendant failed to compensate Plaintiff and other drivers for training and or

    10   orientation time non driving time including but not limited to pre and post trip inspections
   11    waiting time driving without a load on duty time while on the road for over 24 hours and other
   12    on duty time

    13           18     At all times during the liability period Defendant failed to reimburse Plaintiff and

    14   other drivers for the business expenses including but not limited to training costs in violation of

   15    California Labor Code section 2802


   16            19     When Plaintiff and other drivers left Defendant s employ Defendant failed to pay

   17    all wages due at separation as set forth herein Defendants also regularly issued inaccurate wage
   18    statement to Plaintiff and the other drivers


   19           20      Defendants conduct as alleged herein has caused Plaintiff and Class members


   20    damages including but not limited to loss of wages and compensation Defendants have failed to

   21    pay minimum wages failed to pay all wages owed each pay period failed to provide timely and
   22
         accurate wage statements failed to pay all wages owed upon termination and engaged in unfair
   23    competition



   24           21      Plaintiff is a member of and seeks to be the representative for the similarly situated
   25    drivers who all have been exposed to have suffered and or were permitted to work under

   26    Defendants unlawful employment practices as alleged herein


   27


   28

                                                            5

                                                        COMPLAINT
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    1                           CLASS DEFINITIONS AND CLASS ALLEGATIONS


   2              22      Plaintiff brings this action on behalf of himself and on behalf of all others

   3     similarly situated and as a member of the Class defined as follows

   4                   Driver Class All current or foimer drivers employed by Defendants

   5                   residing in California at any tirne beginning four 4 years prior to the

   6                   filing of the Complaint through the date notice is mailed to the Class

   7                   Trainee Driver Class          All cur ent or former trainee drivers for


   8                   Defendants residing in California at any time beginning four 4 years

   9                   prior to the filing of the Complaint through the date notice is mailed to the

    10                 Class


    11            23      This action has been brought and may be properly maintained as a class action

    12   pursuant to the provisions of California s class action statute and other applicable law

   13             24      Numerosity       of   the Class   Members of the Class so nurnerous and plaintiff is s


   14    informed believe exceed 200 persons            The precise number ofthe Class members and their


   15    addresses are known to Plaintiff or will be known to Plaintiff through discovery Class members

   16    may be notified of the pendency of this action by mail electronic mail the Internet or published

   17    notice




   18             25      Existence   of   Predominance       of   Common Questions   of   Fact   and   Law   Common


   19    questions oflaw and fact exist as to all members of the Class These questions predominate over


   20    any questions affecting only individual Class members These common legal and factual

   21    questions include


   22             a
                       Whether Defendants violated California law by failing to pay Plaintiff and the

   23                  members ofthe Class who worked as trainee drivers minimum wage for all hours


   24                  worked




   25             b    Whether Defendants failed to provide for and or properly compensate Plaintiff and

   26                  the members of the Class for rest breaks as required by California law

   27             c
                       Whether Defendants failed to provide for and or properly compensate Plaintiff and
   28                  the members of the Class for meal breaks as required by California law
                                                                   6

                                                            COMPLAINT
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   1             d    Whether Defendant              Labor Code
                                          violated
                                                                   226 a by issuing inaccurate itemized
   2                  wage statements to Plaintiff and members ofthe Class


   3             e    Whether Defendants   violated   Labor Code   2802 by failing to reimburse Plaintiff and

   4                  Class members for business expenses they incui7ed

   5                  Whether Defendants failed to pay all wages due on separation

   6             g    Whether Defendants engaged in an unfair business practice in violation of Business


   7                  Professions Code    17200 et seq based on the labor practices and Labor Code

   8                  violations alleged herein


   9             h    The nature and extent of class wide injury and the measure of damages for the injury

   10            26     Tvpicalitv Plaintiff s claims are typical of the claims of the members of the

   11   subclasses they represent because Plaintiff as a driver of Defendants was exposed and subjected

   12   to the same unlawful business practices as other drivers employed by Defendants during the

   13   liability period Plaintiff and the members of the classes sustained the same types of damages and

   14   losses


   15            27     Adequacy Plaintiff is an adequate representative of the Class she seeks to

   16   represent because his interests do not conflict with the interests of the members of the subciasses

   17   Plaintiff seeks to represent   Plaintiff has retained counsel competent and experienced in complex


   18   class action litigation and Plaintiff intends to prosecute this action vigorously The interests of

   19   members of each Class will be fairly and adequately protected by Plaintiff and his counsel

   20            28     Superiority and Substantial Bene t The class action is superior to other

   21   available means for the fair and efficient adjudication ofPlaintiff and the Class members claims


   22   The damages suffered by each individual Class member may be limited Damages of such

   23   magnitude are small given the burden and expense of individual prosecution ofthe complex and


   24   extensive litigation necessitated by Defendants conduct Further it would be virtually

   25   impossible for the Class members to redress the wrongs done to them on an individual basis Even

   26   if inembers of the Class themselves could afford such individual litigation the court system could

   27   not Individualized litigation increases the delay and expense to all parties and the court system

   28   due to the complex legal and factual issues of the case By contrast the class action device
                                                           7

                                                      COMPLAINT
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    1    presents far fewer management difficulties and provides the benefits ofsingle adjudication


    2    economy of scale and comprehensive supeivision by a single court

    3             29     The Class should also be certified because


    4                  a The prosecution of separate actions by individual members of the Class would

    5    create a risk of inconsistent or varying adjudications with respect to individual Class members

    6    which would establish incompatible standards of conduct for Defendants


    7                  b The prosecution of separate actions by individual members of the Class would

    8    create a risk of adjudication with respect to them which would as a practical matter be


    9    dispositive ofthe interests of the other Class members not parties to the adjudications or


    10   substantially impair or impede their ability to protect their interests and

    11                 c Defendants have acted or refused to act on grounds generally applicable to the
    12   Class and or the general public thereby making appropriate final and injunctive relief with
    13   respect to the Classes as a whole

    14                                            FIRST CAUSE OF ACTION

                                   UNLAWFUL FAILURE TO PROVIDE REST PERIODS
    15
                  Violation   of   Labor Code      226 7 512        and   1194    IWC Wage Order No 9 2001             12

    16                         By Plaintiff And The California Class Against All Defendants

    17         30        Plaintiff re alleges and incorporates all pxeceding paragraphs as if fully set forth

    18   herein


    19         31        California Labor Code        226 7   a provides
                                                                                 No employer shall require any

    20   employee to work during any meal or rest period mandated by an applicable order of the

    21   Industrial Welfare Commission


    22         32        IWC Order No 9 2001 12         A     provides     in   relevant part
                                                                                                Every employer shall

    23   authorize and permit all employees to take rest periods which insofar as practicable shall be in


    24   the middle of each work period         The authorized rest period time shall be based on the total hours

   25    worked daily at the rate of ten 10 minutes net rest time per four hours or majar fraction thereof

   26    However a rest period need not be authorized for employees whose total daily work times is less

   27    than three and one half hours Authorized rest period time shall be counted as hours worked for

   28    which there shall be no deduction from wages
                                                                8

                                                        COMPLAINT
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    1


    2             33      IWC Order No 9 2001           12    B    further    provides    If an employer fails to provide


    3    an employee with a rest period in accordance with the applicable provisions of this order the

    4    employer shall pay the employee one 1 hour of pay at the employee s regular rate of

    5    compensation for each workday that the rest period is not provided

    6             34      As alleged herein Defendant failed to pay any compensation for the training and
    7    orientation period and when it did start to pay compensation only paid on a per mile basis and

    8    failed to separately    compensate      them for   rest   breaks in    violation of   California law   In addition


    9    Defendants failed to adopt a policy in compliance with California law that relieved Plaintiff and

    10   class members from all control and duties during rest breaks

    11            35      By their actions     Defendants     violated         12 ofIWC Wage Order No 9 2001 and


    12   California Labor Code           226 7 and are liable to Plaintiff and the Class


    13         36         Defendants unlawful conduct alleged herein occurred in the course of


    14   employment of Plaintiff and all others similarly situated and such conduct has continued through

    15   the filing of this complaint

    16         37         As a direct and proximate result ofDefendants unlawful action Plaintiff and the


    17   Class have been deprived of timely rest periods and or were not paid for rest periods taking
    18   during    the Class   period    and are entitled   to recovery      under   Labor Code     226 7 b in the amount

    19   of one additional hour of pay at the employee s regular rate of compensation for each work
    20   period during each day in which Defendants failed to provide employees with timely and or paid

    21   rest periods


                                                   SECOND CAUSE OF ACTION
    22
                                   UNLAWFUL FAILURE TO PROVIDE MEAL PERIODS
                       Violation   of   Labor Code      512    and         226 7 IWC Wage Order No 9 2001            11
    23
                                By Plaintiff And The California Class Against All Defendants
    24
              38          Plaintiff re alleges and incorporates all preceding paxagraphs as if fully set forth
    25

         herein
    26

              39          California Labor Code         226 7      a   provides
                                                                                     No employer shall require any
    27

         employee to work during any meal or rest period mandated by an applicable order of the
    28

                                                                       9

                                                            COMPLAINT
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    1    Industrial Welfare Commission


    2          40         IWC Order No 9 2001 11                A   provides   in   relevant part    No employer shall


    3    employ any person for a work period of more than five 5 hours without a meal period of not

    4    less than 30 minutes except that when a work period of not more than six 6 hours will


    5    complete the day s work the meal period may be waived by mutual consent of the employer and
    6    the employee


    7         41          Section 512      a   of   the   California Labor Code     provides   in   relevant part   that    An


    8    employer may not employ an employee for a work period of more than five hours per day

    9    without providing the employee with a meal period of not less than 30 rninutes except that if the

    10   total work period per day of the employee is no more than six hours the meal period may be

    11   waived by mutual consent of both the employer and employee An employer may not employ an
    12   employee for a work period of more than 10 hours per day without providing the employee with
    13   a second meal period of not less than 30 minutes except that if the total hours worked is no more

    14   than 12 hours the second meal period may be waived by mutual consent of the employer and the

    15   employee only if the first meal period was not waived

    16        42          As alleged herein Defendant failed to authorize and permit timely meal breaks

    17   during the Class period Plaintiff and members of the Class were routinely required to work

    18   without an uninterrupted meal break within five hours of starting work at the direction of

    19   Defendant   and or with       Defendant      s   knowledge   and acquiescence       Defendants failed to adopt a


    20   policy in compliance with California law that relieved Plaintiff and class members from all
    21   control and duties during meal breaks Defendant had no policy that its drivers were required to
    22   take meal breaks within the first five hours ofwork


    23        43          By   its   actions   Defendant has     violated   California Labor Code         226 7   and      11 of

    24   IWC Wage Order No 9 2001 and is liable to Plaintiff and the Class

    25        44          As a result of the unlawful acts of Defendant Plaintiff and the Class have been

   26    deprived of timely off duty meal periods and are entitled to recovery under Labor Code
   27    226 7 b    and
                           11 of IWC Wage Order No 9 2001 in the amount of one additional hour of pay
   28    at the employee s regular rate of compensation for each work period during each day in which
                                                                      lo

                                                               COMPLAINT
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    1    Defendant failed to provide its drivers with timely statutory off duty meal periods

    2                                          THIRD CAUSE OF ACTION

                               UNLAWFUL FAILURE TO PAY MINIMUM WAGES
    3
                                    Violation    of   Labor Code          1194 1194 2 119 7
                                                Wage Order No 9 2001                 4
    4
                            By Plaintiff And The California Class Against All Defendants
    5
                 45    Plaintiff re alleges and incorporates all preceding paragraphs as if fully set foi th
    6
         herein
    7
                 46    Labor Code    1197    provides     The minimum wage for employees fixed by the
    8
         commission is the minimum wage to be paid to employees and the payment of a less wage than
    9
         the minimum so fixed is unlawful
    10
                 47    Labor Code     1194    subdivision      a    provides
                                                                               Notwithstanding any agreement to
    11
         work for a lesser wage an employee receiving less than the legal minimum wage or the legal
    12
         overtime compensation applicable to the employee is entitled to recover in a civil action the
    13

         unpaid balance of the full amount ofthis minimum wage or overtime compensation including
    14

         interest thereon reasonable attorney s fees and costs of suit
    15
                 48    Labor Code     1194 2   provides   in   relevant part
                                                                                   In any action under Section
    16
         1193 6 or Section 1194 to recover wages because of the payment of a wage less than the
    17

         minimum wage fixed by an order of the commission an employee shall be entitled to recover
    18

         liquidated damages in an amount equal to the wages unlawfully unpaid and interest thereon
    19
                 49    Pursuant to IWC Wage Order No 9 2001               at all   times   material   hereto   hours
    20

         worked includes the time during which an employee is subject to the control of an employer
    21
         and includes all the time the employee is suffered or permitted to work where or not required to
    22

         do so
    23
                 50    Plaintiff and Class members were required to work for part of the training period at
    24
         educational facilities and at Defendant s facilities without compensation in violation of
    25

         California minimum wage laws Thereafter when Plaintiff and class members began driving
    26

         Defendants paid them on a per mile basis but did not compensate them for non driving and or
    27
         non productive time in violation of California s minimum wage laws                  This includes but is not
    28
                                                               11

                                                      COMPLAINT
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    1    limited to pre and post trip inspections waiting time meetings trips driving without a load and
    2    other on duty time Plaintiff s piece rate pay failed to compensate Plaintiff and Class members at
    3    the applicable minimum wage for all the hours worked driving and non driving
    4          51      At all times relevant during the liability period under the provisions of Wage

    5    Order No 9 2001 Plaintiff and each Class member should have received not less than the

    6    minimum wage in a sum according to proaf for the time worked but not compensated
    7          52      For all hours that Plaintiff and the Class members worked they are entitled to not
    8    less than the California minimum        wage and   pursuant    to Labor Code     1194 2 a liquidated


    9    damages in an amount equal to the unpaid minimum wages and interest thereon                  Pursuant to

    10   Labor Code       1194 Plaintiff and the Class members are also entitled to their attorneys fees


    11   costs and interest according to proof

    12         53      At all times relevant during the liability period Defendants willfully failed and
    13   refused and continues to willfully fail and refuse to pay Plaintiff and Class members the

    14   amounts owed



    15         54      Defendants unlawful conduct alleged herein occurred in the course of


    16   employment of Plaintiff and all other similarly situated drivers and Defendants has done so

    17   continuously throughout the filing of this complaint

    18        55       As   a   direct   and proximate result of    Defendants   violation of   Labor Code    510


    19   and 1197 Plaintiff and other Class members have suffered irreparable harm and money damages

    20   entitling them to damages injunctive relief or restitution Plaintiff on behalf of themselves and

   21    on behalf of the Class seeks damages and all other relief allowable including all wages due

   22    while working as Defendants drivers attorneys fees liquidated damages prejudgment interest

   23    and as to those employees no longex employed by Defendants waiting time penalties pursuant to
   24    Labor Code    200 et seq

   25         56       Plaintiff and the Class members are entitled to back pay pre judgment interest
   26    liquidated damages statutory penalties attorneys fees and costs and for Plaintiff and the Class
   27    of inembers no   longer   employed
                                                waiting time   penalties pursuant   to Labor Code     1194

   28

                                                               12

                                                        COMPLAINT
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    1                                           FOURTH CAUSE OF ACTION

                                 FAILURE TO PAY ALL WAGES DUE AT SEPARATION
    2
                                                 Violation     of   Labor Code     203

    3                           By Plaintiff And The California Class Against All Defendants

    4             57      Plaintiff re alleges and incoiporates all preceding paragraphs as if fully set forth
    5    herein


    6             58      California Labor Code        201 and 202 requires Defendants to pay all

    7    compensation due and owing to former drivers at or around the time employment is terminated

    8    Section 203 of the California Labor Code provides that if an employer willfully fails to pay

    9    compensation      promptly upon discharge     or resignation      as required
                                                                                         by    201 and 202 then the


    10   employer is liable for penalties in the form of continued compensation up to thirty 30 work

    11   days


    12            59      At all times relevant during the liability period Plaintiff and the other members of
    13   the Class     were employees of   Defendants   covered
                                                                    by   Labor Code      203


    14            60      Plaintiff and the Class were not paid for their work performed in excess of eight

    15    8 hours per day nor were they paid for their work time Defendants willfully failed to pay

    16   Plaintiff and other members of the Class who are no longer employed by Defendants for their

    17   uncompensated hours uncompensated overtime and missed untimely or on duty meal and rest
    18   periods upon their termination or separation from employment with Defendants as required by
    19   California Labor Code         201 and 202     As a result Defendants is liable to Plaintiff and other


    20   members of the Class who are no longer employed by Defendants for waiting time penalties
    21   amounting to thirty days wages for Plaintiff and each such Class member pursuant to California
   22    Labor Code       203


   23                                            FIFTH CAUSE OF ACTION

                       FAILURE TO FURNISH TIMELY AND ACCURATE WAGE STATEMENTS
   24
                                           Violation   of   Labor Code        226 and 226 3

   25                           By Plaintiff And The California Class Against All Defendants

                61
   2                      Plaintiff re alleges and incorporates all preceding paragraphs as if fully set forth

   27    herein


   28
                                                               13

                                                        COMPLAINT
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    1          62         California Labor Code              226    a   provides
                                                                                        Every employer shall semimonthly or
    2    at the time of each payment of wages furriish each of his or her employees either as a

    3    detachable part of the check draft or voucher paying the employee s wages or separately when
    4    wages are paid by personal check or cash an accurate itemized statement in writing showing 1

    5    gross wages eatned           2 total hours      worked
                                                                   by    the   employee        3 the number of piece rate units


    6    earned and
                       any   applicable piece rate        if the   employee      is   paid on a piece rate    basis   4 all


    7    deductions provided that all deductions made on written orders of the employee may be

    8    aggregated and shown as one              item   5   net wages earned            6 the inclusive dates ofthe period for


    9    which the employee          is   paid    7 the name of the employee and his or her social security number

    10   except that by January 1 2008 only the last four digits of his or her social security number or an
    11   employee identification number other than a social security number may be shown on the

    12   itemized   statement         8 the name and address of the legal entity that is the employer and 9 all

    13   applicable hourly rates in effect during the pay period a d the corresponding number of hours

    14   worked at each hourly rate by the employee
    15         63        Labor Code              226 e provides that an employee is entitled to recover                 50 for the


    16   initial pay   period   in   which a violation of          226   occurs and
                                                                                          100 for each subsequent pay period

    17   as well as an award of costs and reasonable attorneys fees for all pay periods in which the

    18   employer knowingly and intentionally failed to provide accurate itemized statements to the
    19   employee causing the employee to suffer injury
    20         64        Plaintiff is informed believe and thereon alleges that at all times relevant


    21   Defendants knowingly and intentionally failed to furnish and continues to knowingly and
    22
         intentionally fail to furnish Plaintiff and each Class membex with timely and accurate itemized
    23                 showing the                                 by              them                       Labor Code      226
         statements                       gross wages earned             each of           as required
                                                                                                         by
    24    a   in that the payments owed to Plaintiff and the members ofthe Class for unpaicl minimum


    25   wages and missed and or unpaid meal and rest periods were not included in gross wages earned


    26   by Plaintiff and the Class
    27         65        Defendants failure to provide Plaintiff and members of the Class with accurate


    28   itemized wage statements during the Class period has caused Plaintiff and members of the Class
                                                                         14

                                                               COMPLAINT
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    1     to incur economic damages in that they were not aware that they were owed and not paid

    2     compensation for missed rest periods and on duty meal periods for hours worked without pay

    3     and for overtime worked without pay In addition as set forth in Plaintiffs third cause of action

    4     Defendants provided inaccurate infoimation regarding hours worked which masked their

    5     underpayment ofwages to Plaintiff and the Class


    6             66       As a result of Defendants issuance of inaccurate itemized wage statements to


    7     Plaintiff and   members of     the Class   in   violation of     Labor Code     226 a   Plaintiff and the


    8     members of      the Class   are each entitled    to   recover penalties pursuant   to   226 e ofthe Labor


    9     Code


    1Q
                                                SIXTH CAUSE OF ACTION
                                 FAILURE TO REIMBURSE BUSINESS EXPENSES
    11
                                               Violation        of   Labor Code    2802
    12                      By Plaintiff And The California Class Against All Defendants

    13            67       Plaintiff re alleges and incorporates all preceding paragraphs as if set forth fully

    14   herein


                  68       California Labor Code 2802 provides An employer shall indemnify his or her
    15

    16   employee for all necessary expenditures or losses incurred by the employee in direct consequence

    17   of the discharge ofhis or her duties or ofhis or her obedience to the directions ofthe employer


    1g   even though unlawful unless the employee at the time of obeying the directions believed them

         to be unlawful
    19


    20            69       During the applicable statutory period Plaintiff and the Class members incurred

    21   necessary expenditures and losses in direct consequence of their employment duties and or their

    22   obedience to the directions of Defendants              These business expenses which Plaintiff and class


    23   members incurred which were not reimbursed include but are not limited to tuition and


    24   associated costs for driver training and or orientation Defendants did not reimburse these

    25   expendiiures or losses to Plaintiff and the Class members


    26            70       Defendants has failed to fully reimburse Plaintiff and the members of the Class for

    2    necessary business related expenses and losses

    28
                                                                      1s

                                                                COMPLAINT
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    1             71      Plaintiff and the Class members are entitled to recover their unreimbursed


    2    expenditures and    losses   pursuant   to Labor Code        2802


    3                                             SEVENTH CAUSE OF ACTION
                           VIOLATION OF CALIFORNIA S UNFAIR COMPETITION ACT
    4
                                        Violation of California s Unfair Competition Law

    5                                            Bus    Prof Code            17200 et seq
                               By Plaintiff And The California Class Against All Defendants
    6
                  72      Plaintiff re alleges and incoiporates all preceding paragraphs as if fully set forth
    7
         herein
    8
                  73      Section 17200 ofthe California Business and Professions Code the               UCL
    9

         prohibits any unlawful unfair or fraudulent business practices
    10
                  74      Through its actions alleged herein Defendants has engaged in unfair competition
    11

         within the meaning of the UCL Defendants conduct as alleged herein constitutes unlawful
    12
         unfair or fraudulent business practices under the UCL
    13
                  75      Defendants     unlawful conduct under the UCL includes but is not limited to
    14

         violating Labor Code         201   202 203 226 a    226 7 512         1194 2802 California Wage Order
    15
         No 9 2001 29 U S C            201 etseq 29 C F R             785 22 a and the other statutes and regulations
    16
         alleged herein Defendants unfair conduct under the UCL includes but is not limited to failure
    17

         to pay Class members wages and compensation they earned through labor provided and failing to
    18
         otherwise compensate Class members as alleged herein Defendants                    fraudulent conduct
    19

         includes but is not limited to issuing wage statements containing false and or misleading
    20
         information about the time the Class members worked and the amount ofwages or compensation
    21
         due
    22
                  76      Plaintiff has standing to assert this claim because he has suffered injury in fact and
    23

         has lost money as a result ofDefendants conduct
    24
                  77      Plaintiff and the Class seek restitutionary disgorgement from Defendants and an
    25

         injunction prohibiting them from engaging in the unlawful unfair and or fraudulent conduct
    26
         alleged herein
    27


    28
                                                                 16

                                                         COMPLAINT
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    1                                                         PRAYER


    2           WHEREFORE Plaintiff on behalf of himself and all others similarly situated and also

    3    on behalf of the general public pray for judgment and or orders against Defendants as follows

    4           A An order that this action may proceed and be maintained as a class ss

    5           B   For all unpaid minimum wages and liquidated damages due to Plaintiff and each


    6               Class member


    7           C   For one hour ofwages at Plaintiff and each Class members              regular rate of


    8               compensation each rest break violation pursuant to Labor Code             226 7 c


    9           D   For one hour ofwages at Plaintiff and each Class members regular rate of


    10              compensation each meal break violation pursuant to Labor Code               226 7 c


    11          E   For   continuation wages under     Labor Code     203 for Plaintiff and Class members


    12          F   For statutory    penalties under   Labor Code    226 e    for Plaintiff and Class members


    13          G   An    order
                                  requiring Defendants to comply    with   Labor Code      226 a with respect to

    14              all currently employed members of the Class

    15          H   For   reimbursement of     business   expenses under   Labor Code      2802 to Plaintiff and


    16              the Class


    17          I   For restitutionary disgorgement pursuant to the UCL to Plaintiff and the Class

    18          J   An order enjoining Defendants from further unfair and unlawful business practices

    19              in   violation of   Business   Professions Code        17200 et seq

    20          K   Prejudgment interest at the maximum legal rate


    21          L   Reasonable attorneys fees


    22
                M Accounting of Defendants records for the liability period
    23         N General special and consequential damages to the extent allowed by law
    24          O   Costs of suit and


    25

    26


    27


    28
                                                              1

                                                          COMPLAINT
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    1         P   Such other relief as the Court may deem just and proper

    2
         DATED    July   15 2019                     HAFFNER LAW PC
    3
                                                                     i
    4
                                           BY               F



                                                    J           ua   H    affner
    5
                                                            ham          ambert
                                                        j
    6                                                   ttorneys for Plaintiff


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                                                     is

                                                COMPLAINT
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    1                                       DEMAND FOR JURY TRIAL


    2              Plaintiff demands a trial by jury for himself and the Class members on all claims so

    3    triable



    4
         DATED       July   15 2019                       HAFFNER LAW PC
    5
                                                                 r   f

                                                                                     W




    6                                            BY                      x



                                                          Jos    H           ffner
                                                          G     am   L       bert

    g                                                     A orneys for Plaintiff and others
                                                   Similarly situated
    9


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                                                           19

                                                      COMPLAINT
